     Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 1 of 45




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

FEDERAL TRADE COMMISSION,              §
                                       §
        Plaintiff,                     §
                                       §
v.                                     §
                                       §
U.S. ANESTHESIA PARTNERS, INC.,        §         Civil Action No. 4:23-cv-03560
                                       §
        and                            §
                                       §
WELSH, CARSON, ANDERSON &              §
STOWE XI, L.P., et al.                 §
                                       §
        Defendants                     §

                     WELSH CARSON ENTITIES’ MOTION TO DISMISS

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Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 2 of 45




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      Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 3 of 45




                                                  TABLE OF CONTENTS

                                                                                                                                         Page

PRELIMINARY STATEMENT .................................................................................................. 1

SUMMARY OF THE ARGUMENT ........................................................................................... 3

STATEMENT OF THE NATURE AND STAGE OF THE PROCEEDING .............................. 6

STATEMENT OF THE ISSUES.................................................................................................. 6

FACTUAL BACKGROUND ....................................................................................................... 7

STANDARD OF REVIEW .......................................................................................................... 9

ARGUMENT .............................................................................................................................. 10

I.        The FTC Is Not Authorized to Bring this Action under Section 13(b) of the FTC Act. 10

II.       The FTC Fails to State a Claim for Alleged Violation of the Antitrust Laws by Welsh
          Carson. ............................................................................................................................ 15

          A.         The Complaint States No Claims Against the Welsh Carson Entities for
                     Monopolization, Unlawful Agreements in Restraint of Trade, or Unfair Methods
                     of Competition. ................................................................................................... 16

                     1.       The FTC Fails to Plead that Welsh Carson Is a Monopolist Engaged in
                              Exclusionary Conduct under Section 2 of the Sherman Act (Counts I
                              & IV). ........................................................................................................ 16

                     2.       The FTC Does Not Allege that any Welsh Carson Entity Was Party to an
                              Agreement or Transaction in Violation of the Antitrust Laws (Counts II,
                              V, VII, IX, & X)........................................................................................ 18

                     3.       The FTC Fails to State a Claim under Section 5 of the FTC Act Against
                              the Welsh Carson Defendants (Count VIII).............................................. 20

          B.         Welsh Carson Cannot Be Liable for Alleged Violations of the Antitrust Laws by
                     USAP. ................................................................................................................. 21

                     1.       Courts Respect the Corporate Form. ......................................................... 22

                     2.       The Welsh Carson Entities’ Alleged Activities Incidental to their
                              Investments Do Not Constitute Independent Conduct.............................. 24

                     3.       None of the FTC’s Remaining Allegations Properly Plead Independent
                              Conduct by the Welsh Carson Entities. .................................................... 26
       Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 4 of 45




                     4.       The FTC Fails to Plead Any Claim Based on Agency Liability............... 28

          C.         The FTC Fails to State a Valid Conspiracy Claim Under Section 2 of the
                     Sherman Act (Counts III & VI). ......................................................................... 29

III.      The Case Should Also Be Dismissed Because, as an Independent Agency, the FTC
          Cannot File an Enforcement Action—an Authority Reserved to Agencies Directly
          Supervised by the President. ........................................................................................... 30

          A.         The FTC Act Amendments, Which Authorized Independent FTC
                     Commissioners to Exercise the President’s Executive Power, Such as By Filing
                     this Enforcement Action in Court, Violate Article II of the Constitution. ......... 31

          B.         The Appropriate Remedy for this Constitutional Violation Is to Strike the
                     Executive Powers Granted to the FTC in 1973, which Compels Dismissal of this
                     Action.................................................................................................................. 34

CONCLUSION ........................................................................................................................... 35
      Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 5 of 45




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

In re Alper Holdings USA, Inc.,
    398 B.R. 736 (S.D.N.Y. 2008).................................................................................................27

Am. Needle, Inc. v. Nat’l Football League,
   560 U.S. 183 (2010) .................................................................................................................29

AMG Capital Mgmt., LLC v. Fed. Trade Comm’n,
  141 S. Ct. 1341 (2021) .......................................................................................................11, 33

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .................................................................................................................10

Barr v. Am. Ass’n of Pol. Consultants, Inc.,
   140 S. Ct. 2335 (2020) .............................................................................................................35

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) .................................................................................................................10

Bond v. United States,
   572 U.S. 844 (2014) .................................................................................................................31

BRFHH Shreveport, LLC v. Willis-Knighton Med. Ctr.,
  49 F.4th 520 (5th Cir. 2022) ..................................................................................10, 13, 15, 17

Bridas S.A.P.I.C. v. Gov’t of Turkmenistan,
   447 F.3d 411 (5th Cir. 2006) ...................................................................................................22

Buckley v. Valeo,
   424 U.S. 1 (1976) .....................................................................................................................33

Chandler v. Phoenix Servs.,
   No. 7:19-CV-00014, 2020 WL 1848047 (N.D. Tex. Apr. 13, 2020), aff’d, 45
   F.4th 807 (5th Cir. 2022) ...................................................................................................16, 23

Clark v. Thompson,
   850 Fed App’x 203 (5th Cir. 2018) .........................................................................................21

Cnty. Ct. of Ulster Cnty., N.Y. v. Allen,
   442 U.S. 140 (1979) .................................................................................................................31

E.I. du Pont de Nemours & Co. v. Fed. Trade Comm’n,
    729 F.2d 128 (2d Cir. 1984).....................................................................................................20
                                                                     i
      Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 6 of 45




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   No. 4:19-CV-715, 2020 WL 6741968 (E.D. Tex. Nov. 16, 2020) ..........................................14

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   937 F.3d 764 (7th Cir. 2019) ...................................................................................................10

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   560 F. Supp. 3d 1 (D.D.C. 2021) .................................................................................11, 12, 13

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   917 F.3d 147 (3d Cir. 2019)...................................................................................10, 11, 13, 14

Gurgunas v. Furniss,
   No. 3:15-CV-03964, 2016 WL 3745684 (N.D. Tex. July 13, 2016) .......................................15

California ex rel. Harris v. Safeway, Inc.,
   651 F.3d 1118 (9th Cir. 2011) .................................................................................................19

Hobart Bros. Co. v. Malcolm T. Gilliland, Inc.,
   471 F.2d 894 (5th Cir. 1973) ...................................................................................................19

Humphrey’s Executor v. United States,
  295 U.S. 602 (1935) .................................................................................................5, 32, 34, 35

Lenox MacLaren Surgical Corp. v. Medtronic, Inc.,
   847 F.3d 1221 (10th Cir. 2017) ...............................................................................................16

In re LIBOR-Based Financial Instruments Antitrust Litig.,
    No. 11 MDL 2262, 2019 WL 1331830 (S.D.N.Y. Mar. 25, 2019) .........................................23

Masimo Corp. v. Wireless,
  No. 19-CV-01100, 2020 WL 7260660 (S.D. Cal. Dec. 10, 2020) ....................................24, 29

Off. Airline Guides, Inc. v. Fed. Trade Comm’n,
    630 F.2d 920 (2d Cir. 1980).....................................................................................................20

In re Penn. Title Ins. Antitrust Litig.,
    648 F. Supp. 2d 663 (E.D. Pa. 2009) .................................................................................23, 25

PostX Corp. v. Secure Data in Motion, Inc.,
   No. C 02-044832005 WL 8177634 (N.D. Cal. Aug. 17, 2005).........................................29, 30

In re Pressure Sensitive Labelstock Antitrust Litig.,
    566 F. Supp. 2d 363 (M.D. Pa. 2008) ......................................................................................25

Rio Grande Royalty Co. v. Energy Transfer Partners, L.P.,
   786 F. Supp. 2d 1202 (S.D. Tex. 2009) ...................................................................................18



                                                                  ii
      Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 7 of 45




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   172 F.R.D. 330 (N.D. Ill. 1997) ...............................................................................................30

Seila Law, LLC v. Consumer Financial Prot. Bureau,
    140 S. Ct. 2183 (2020) ..................................................................................................... passim

Shujauddin v. Berger Bldg. Prods., Inc.,
   No. CV 19-876, 2019 WL 9102043 (E.D. Pa. June 18, 2019) ................................................15

SSP Partners v. Gladstrong Invs. (USA) Corp.,
   275 S.W.3d 444 (Tex. 2008)....................................................................................................22

Stankis v. Environmental Protection Agency,
   713 F.2d 1181 (5th Cir. 1983) .................................................................................................11

Stearns Airport Equip. Co. v. FMC Corp.,
    170 F.3d 518 (5th Cir. 1999) ...................................................................................................16

T D X Energy, LLC v. Chesapeake Operating, Inc.,
   857 F.3d 253 (5th Cir. 2017) ...................................................................................................11

Top Rank, Inc. v. Haymon,
   No. CV154961, 2015 WL 9948936 (C.D. Cal. Oct. 16, 2015) ...............................................30

Transamerica Leasing, Inc. v. La Republica de Venezuela,
   200 F.3d 843 (D.C. Cir. 2000) .................................................................................................29

TransUnion LLC v. Ramirez,
   141 S. Ct. 2190 (2021) .............................................................................................................33

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    No. CIV.A. 08-1498, 2014 WL 1766083 (W.D. Pa. May 2, 2014), aff’d, 903
    F.3d 333 (3d Cir. 2018)............................................................................................................27

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   768 F.2d 686 (5th Cir. 1985) ...................................................................................................23

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   524 U.S. 51 (1998) .......................................................................................................22, 26, 27

United States v. Grinnell Corp.,
   384 U.S. 563 (1966) ...........................................................................................................16, 17

Valdez v. Cap. Mgmt. Servs., LP,
   No. CIV.A. B:09-246, 2010 WL 4643272 (S.D. Tex. Nov. 16, 2010)....................................23

Vaughn Med. Equip. Repair Serv., L.L.C. v. Jordan Reses Supply Co.,
   No. CIV.A. 10-00124, 2010 WL 3488244 (E.D. La. Aug. 26, 2010) .....................................18

                                                                   iii
      Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 8 of 45




Verizon Commc’ns, Inc. v. Law Off. of Curtis V. Trinko,
   540 U.S. 398 (2004) .................................................................................................................28

Walker v. Beaumont Indep. Sch. Dist.,
   938 F.3d 724 (5th Cir. 2019) ...............................................................................................9, 10

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   457 A.2d 701 (Del. 1983) ........................................................................................................26

Statutes

15 U.S.C. § 18 ................................................................................................................................18

15 U.S.C. § 41 ................................................................................................................................32

15 U.S.C. § 41 et seq......................................................................................................................33

15 U.S.C. § 45(a)(1) .......................................................................................................................20

15 U.S.C. § 53(b) ................................................................................................................... passim

Pub. L. No. 93-153, § 408(f), 87 Stat. 576, 592 (1973) .................................................................32

Other Authorities

Fed. R. Civ. P. Rule 8 ..............................................................................................................15, 21

Fed. R. Civ. P. Rule 12(b)(6) ................................................................................................. passim

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   tools”), https://www.brookings.edu/wp-
   content/uploads/2023/08/gs_20231005_antitrust_transcript.pdf .............................................33

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  efficiency-doesnt-appear-anywhere-in-the-antitrust-statutes/ .................................................33




                                                                       iv
    Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 9 of 45




                                     PRELIMINARY STATEMENT

       This case involves an unprecedented attempt by the Federal Trade Commission (“FTC”)

to challenge and unravel long-ago investments in a healthcare company that provides vital services

in this State. The investments facilitated delivery of needed anesthesia services to Texas cities,

including medically underserved areas here in Houston. The FTC’s lawsuit evidently seeks to

dismantle this physician-owned company and disrupt its delivery of vital services, all while

ignoring well-settled principles of corporate and antitrust law in seeking to somehow hold its

minority investor liable.

       A decade ago, a Welsh Carson fund helped finance a local group of physicians to create

defendant U.S. Anesthesia Partners, Inc. (“USAP”). Over the years, USAP grew into a company

that expands access to quality anesthesia services across Texas and other states. Part of USAP’s

approach was to attract and combine with other quality practices—a strategy used by countless

other companies in many other industries. Its growth has allowed USAP to invest in technology,

quality, and infrastructure to provide comprehensive 24/7 anesthesia services to hospitals both

large and small, including those with patient populations that previously had access only to lower

quality anesthesia services or struggled to access such services at all. And USAP serves these

patient needs at prices that, accounting for inflation, have basically stayed flat since inception.

       None of this seems to matter to the FTC. This lawsuit focuses on supposed harm to the

healthcare insurance industry, dominated by four insurers: Aetna, United, Cigna, and Blue Cross.

Nothing in the Complaint alleges that USAP’s success has harmed patient care, much less that

Welsh Carson investments have done so. Nor does the Complaint assert that any of the respected

Texas hospitals (which rely on USAP for access to high-quality care for underserved populations)

has been hurt by the supposed anticompetitive acts. Instead, the FTC complains that the big four
    Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 10 of 45




insurance companies—which routinely kick out healthcare providers from coverage during pricing

negotiations—now are allegedly less able to leverage their bargaining power against USAP.

       Beyond that, the Complaint just looks backward and cites no specific current or imminent

violation by the Welsh Carson entities. 1 That is fatal to its claims. The FTC’s power to sue under

Section 13(b) of the Federal Trade Commission Act (the “FTC Act”) is restricted to a putative

defendant that is violating, or is about to violate, a law enforced by the FTC. The last act alleged

by the FTC was more than four years ago; most are more than a decade old. As a matter of this

governing statute, hindsight enforcement over long-completed investments by the Welsh Carson

Funds is well beyond the authority of the FTC.

       Even more, the Complaint targets mere investors, turning decades of settled corporate law

on its head. The FTC alleges that Fund XII is the only Welsh Carson investor in USAP since 2017,

and it has never held more than a 23% share in USAP and two of fourteen USAP board seats. But

rather than admit the illogic of suing non-controlling investors for alleged misconduct by the

company in which they invested, the Complaint instead lumps everyone together to try to conceal

the illogic. It ignores longstanding principles of corporate law and separateness, apparently hoping

to survive a motion to dismiss through hazy and undifferentiated group pleading.

       By limiting the FTC to its statutory authority and holding it to the pleading standards, the

Court will avoid the need to reach serious constitutional issues raised by the agency’s aggressive

new litigation agenda. Recent Supreme Court precedent highlights that the FTC’s exercise of




1
  Welsh, Carson, Anderson & Stowe XI, L.P. (“Fund XI”), WCAS Associates XI, LLC, Welsh, Carson,
Anderson & Stowe XII, L.P. (“Fund XII” and, together with Fund XI, “the Funds”), WCAS Associates XII,
LLC, WCAS Management Corporation, WCAS Management, L.P., and WCAS Management, LLC
(collectively, the “Welsh Carson entities”).


                                                 2
    Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 11 of 45




quintessentially executive power under the FTC Act, as amended, violates Article II of the

Constitution.

           In short, the FTC’s Complaint greatly overreaches its standing and statutory power, ignores

the harm that it will cause to consumers of USAP’s critical services here and elsewhere, and

improperly sues Welsh Carson investors which are not controlling, conspiring, or even proper

parties.

                                 SUMMARY OF THE ARGUMENT

           Section 13(b) of the FTC Act. The FTC’s action exceeds the scope of its statutory

authority because no Welsh Carson entity “is violating” or “is about to violate” any law protecting

competition, as required to invoke Section 13(b) of the FTC Act. Congress specifically limited

the FTC’s authority in federal court to situations where the FTC seeks to remedy ongoing or

impending conduct; past conduct alone will not suffice. But no Welsh Carson entity owns a

majority of or controls USAP today, nor has any Welsh Carson entity ever provided anesthesia

services. Most of the FTC’s allegations about Welsh Carson-related conduct are more than a

decade old; the most recent of the scant allegations are from 2019, more than four years ago. And

the FTC’s conclusory and speculative allegations do not show that any Welsh Carson entity is

about to make additional investments or take action of any kind that will violate the antitrust laws.

Indeed, the FTC’s resort to such non-factual speculation confirms its failure to meet the statutory

standard. The FTC therefore lacks authority to bring this action under Section 13(b) of the FTC

Act, and dismissal is required.

           Failure to State a Claim under Rule 12(b)(6). The FTC’s threadbare group-pleading

allegations about the Welsh Carson entities’ purported involvement in the business activities of

USAP present additional grounds for dismissal under Rule 12(b)(6). Even if the FTC could



                                                    3
    Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 12 of 45




plausibly allege antitrust violations directly by USAP, 2 its attempt to sweep seven Welsh Carson

entities into the litigation ignores basic and long-settled principles of corporate separateness and

agency law, constituting an unprecedented overreach.           The FTC’s story, as alleged in the

Complaint, is simple: Fund XI “founded” USAP by providing startup capital in 2012. USAP (not

any Welsh Carson entity) expanded by acquiring additional anesthesia physician practices. In

short, the FTC alleges that USAP’s multiple acquisitions resulted in violations of the antitrust laws,

but it alleges no well-pleaded fact suggesting that any Welsh Carson entity committed such a

violation. At most, the FTC alleges that “Welsh Carson” was responsible for the idea to create,

grow, and expand USAP, a platform of supported anesthesiology practices—but that does not state

a claim for violation of the antitrust laws. At all times, the Funds acted as a financing source, and

no Welsh Carson entity acted as a market participant. The alleged conduct by the Welsh Carson

entities is typical of the relationship between an investor and the entity in which it invested: advice,

financial support and oversight that has been repeatedly rejected as a basis to impute liability to

the investor as a matter of settled corporate law. By attempting to convert investments by the

Welsh Carson Funds into liability for USAP’s alleged subsequent antitrust violations, the FTC

casually ignores fundamental principles of corporate law, including corporate separateness. Nor

can the FTC carry its burden as to the Welsh Carson entities based on conduct before USAP’s

formation or conduct by a USAP director (appointed by Welsh Carson) who is legally presumed

to act on USAP’s behalf.

        The FTC’s conspiracy claims under Section 2 of the Sherman Act also fail because the

FTC does not plausibly allege that any Welsh Carson entity ever had a separate economic interest



2
  For the reasons stated in USAP’s Motion to Dismiss, in which the Welsh Carson entities join, the FTC
fails adequately to plead any primary violation of the antitrust laws by USAP.


                                                   4
   Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 13 of 45




from USAP in any relevant market. Nor could it: the Welsh Carson investment funds were merely

investors in USAP’s business of providing Texans access to efficient, high-quality anesthesiology

services. And the FTC does not (because it cannot) allege that the Welsh Carson entities and

USAP are, or at any time were, actual or potential competitors. The conspiracy claims should be

dismissed for these reasons.

       Article II of the U.S. Constitution. This Court should dismiss the claims against the Welsh

Carson entities entirely for failure to satisfy the Section 13(b) standard, or on the basis of the

pleading defects under Rule 12(b)(6) that are obvious from the face of the Complaint. But, if it

does not, then this enforcement action must be dismissed because it is premised on an

impermissible exercise of executive authority in violation of Article II of the Constitution. Almost

a century ago, the Supreme Court upheld the constitutionality of the FTC Act, which restricts the

President’s appointment and removal authority with respect to FTC Commissioners. But the Court

did so because the FTC, as it existed in 1935, did not exercise “executive” power. Humphrey’s

Executor v. United States, 295 U.S. 602, 628–29 (1935). The 1973 amendments to the FTC Act

granted the FTC substantial authority to enforce antitrust laws—authority that the Supreme Court

has recently characterized as “quintessentially executive power.” Seila Law, LLC v. Consumer

Financial Protection Bureau, 140 S. Ct. 2183, 2200 (2020). The FTC Act, as amended, violates

Article II of the Constitution to the extent it purports to grant FTC Commissioners essential

executive powers, while limiting both the President’s appointment and removal authority. The

appropriate remedy for this constitutional violation is to strike the 1973 amendments and to dismiss

this suit as an unconstitutional exercise of executive power by the FTC.

                                         *       *       *




                                                 5
    Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 14 of 45




       After a two-year investigation involving hundreds of thousands of documents and

extensive sworn testimony, the FTC’s resort to hazy and undifferentiated pleading, supported only

by non-factual, conclusory allegations regarding the Welsh Carson entities, amplifies the failure

of its pleading. And the FTC’s efforts to ignore black-letter corporate law betray its true policy

motives in bringing the action. The Welsh Carson entities respectfully seek dismissal of all claims

alleged against them.

         STATEMENT OF THE NATURE AND STAGE OF THE PROCEEDING

       Plaintiff FTC filed its complaint (the “Complaint”) on September 21, 2023. ECF No. 1.

All defendants have waived service of process. The Welsh Carson entities now move, pursuant to

Federal Rule of Civil Procedure 12(b)(6), to dismiss the Complaint for failure to state a claim.

                                STATEMENT OF THE ISSUES

       1.       Whether Section 13(b) of the FTC Act, which allows the FTC to bring an action

for injunctive relief in federal court only upon a showing that a defendant “is violating, or is about

to violate” the law, authorizes the FTC to bring this action against any Welsh Carson entity, where

the FTC alleges only long-past conduct as a basis for its action against the Welsh Carson entities.

       2.      Whether the FTC adequately pleads a claim that any Welsh Carson entity is liable

for USAP’s alleged antitrust violations, based on imputing USAP’s conduct to its shareholder in

violation of bedrock corporate law, while failing to differentiate among the seven Welsh Carson

entities named as defendants.

       3.      Whether the FTC, as an independent agency, has the constitutional authority to

bring this enforcement action pursuant to the 1973 amendment to the FTC Act, which granted the

FTC the quintessentially executive power to bring enforcement actions, where the FTC Act

otherwise restricts the President’s appointment and removal authority.



                                                  6
    Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 15 of 45




                                  FACTUAL BACKGROUND

        Fund XI and Fund XII are separate private equity investment funds that made separate

investments at different times in healthcare and technology companies on behalf of different

investors. See Compl. ¶¶ 26, 28. Each of Fund XI and Fund XII pooled capital from independent

investors, such as pension and retirement funds, which was then invested to create ownership

stakes in its respective portfolio companies. Id. ¶ 26. WCAS Associates XI, LLC is the general

partner of Fund XI. Id. ¶ 29. WCAS Associates XII, LLC is the general partner of Fund XII. Id.

¶ 27. Each general partner entity is empowered to act on behalf and for the benefit of its respective

Fund and its investors. Id. ¶¶ 27, 29. WCAS Management Corporation provides investment

advisory and consulting services to the Funds and their portfolio companies. Id. ¶ 25. WCAS

Management, L.P. serves as a sub-advisor to WCAS Management Corporation, and WCAS

Management, LLC is the general partner of WCAS Management, L.P. Id. ¶¶ 30–31.

        Fund XI owned stock in USAP from 2012 until 2017, and no longer owns stock in USAP.

Id. ¶¶ 28, 35. Fund XII has held a minority stake (never more than 23%) in USAP since 2017. Id.

¶¶ 26, 35. The FTC does not allege that any of the five other Welsh Carson defendants ever owned

any portion of USAP or engaged in any specific conduct relating to USAP. Throughout its

Complaint, the FTC lumps together these seven entities as “Welsh Carson” as if they were one,

without regard to their distinct legal identities and distinct practical functions. See id. at 1–2

(defining “Welsh Carson” to refer to all seven Welsh Carson-affiliated defendants); see also id. at

13 nn.2–3 (eliding further distinctions among Welsh Carson-related entities, including non-party

entities).

        USAP is a healthcare services organization focused on anesthesia and pain management

services. Id. ¶ 21. Established in Texas in 2012, USAP currently operates in eight states. Id. ¶ 22.

USAP was formed with the goal of establishing a physician-centric organization providing high-


                                                 7
   Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 16 of 45




quality anesthesia services that result in excellent clinical outcomes for patients. Since its

founding, USAP has been a separate legal entity with separate management and employees from

the Welsh Carson entities named as defendants. See id. ¶¶ 20, 38.

       USAP’s partnership model means that its many physician partners collectively hold the

largest share of USAP’s stock, retain clinical control of their practices and devote their time to

patient care rather than to administrative tasks, which are delegated to management services

professionals. USAP provides doctors with access to capital, technology, improved quality

management and reporting capabilities, and the business capabilities and sophistication necessary

to contend with the increasingly complex healthcare industry. The FTC’s Complaint does not

allege that any patient received substandard or poor-quality care, or that any patient was denied

access to medical care because of financial need. Nor does it allege that any Texas hospital that

relies on USAP has been hurt by any alleged anticompetitive conduct. Rather, the Complaint

repeatedly points to the alleged grievances of the powerful insurance industry, not patients (who

require access to high-quality care) or physicians (who face increasing challenges to serve the

complex needs of their patients). See id. ¶¶ 2, 5, 68, 74–76, 155, 307, 314–18.

       Fund XI invested in USAP at its founding in 2012. Id. ¶ 93. Consistent with its initial

50.2% stake in USAP, Fund XI received typical shareholder rights, including the right—never

alleged to have been exercised—to fill a majority of USAP’s board of directors. See id. ¶¶ 35–36.

Shortly after USAP’s founding in 2012, Fund XI’s equity interest in USAP began declining, as

equity was issued to new USAP physician partners, and Fund XI was soon a minority holder. Id.

¶ 35. During 2017, Fund XI sold its entire interest in USAP. Id. ¶¶ 28, 35. Fund XII first made a

minority investment in USAP in 2017, and today it owns approximately 23% of USAP. Id. ¶¶ 26,

35. As a result of its 2017 investment, Fund XII is entitled to appoint just two out of fourteen



                                                8
    Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 17 of 45




directors to the USAP board, less than its proportional equity interest in USAP. See id. ¶ 36.

Indeed, the FTC conspicuously avoids mentioning that at no time have the Funds appointed more

than two of USAP’s fourteen directors. Similarly, the FTC does not (and cannot) allege that

USAP’s organizational documents and operative agreements granted either Fund the legal

authority to control USAP’s day-to-day operations at any time. Brian Regan, a Welsh Carson

executive, served as a USAP director from Fund XI’s initial investment in 2012 until 2022. Id.

¶ 37.

        The Complaint outlines two main categories of alleged USAP conduct that the FTC deems

anticompetitive and in which it tries to implicate the Welsh Carson entities: (i) acquisitions of

certain anesthesia practices in the Houston, Dallas, and other Texas locations by USAP; and (ii) a

so-called “market allocation” agreement by USAP. 3 But the FTC alleges that USAP (not any

Welsh Carson entity) acquired each anesthesia practice at issue, and that USAP (not any Welsh

Carson entity) was the signatory to the alleged January 2014 agreement. See id. ¶¶ 102–49, 157–

73, 214. To the extent the Complaint contains allegations about the Welsh Carson entities that go

beyond the incidents of equity ownership in USAP, the FTC’s undifferentiated pleading simply

lumps together “USAP and Welsh Carson,” without elaboration on the role of any Welsh Carson

entity in the conduct at issue. See, e.g., id. ¶¶ 3–5, 7, 98–100, 106, 124–25, 129, 138, 150–52, 261,

274, 286.

                                     STANDARD OF REVIEW

        “[C]laims may be dismissed under Rule 12(b)(6) on the basis of a dispositive issue of law.

Dismissal under [Rule] 12(b)(6) also is warranted if the complaint does not contain sufficient



3
  Although the FTC also complains of USAP’s alleged price setting arrangements, the Complaint is devoid
of any allegation that Welsh Carson played any role at all in those arrangements, save for a reference to a
“suggestion” offered by the then-USAP director designated by Welsh Carson. See Compl. ¶¶ 175–200.


                                                    9
     Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 18 of 45




factual matter, accepted as true, to state a claim to relief that is plausible on its face.” Walker v.

Beaumont Indep. Sch. Dist., 938 F.3d 724, 734 (5th Cir. 2019). 4 A complaint with only “labels

and conclusions” or a “formulaic recitation of the elements of a cause of action” cannot survive a

motion to dismiss. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); see also BRFHH

Shreveport, LLC v. Willis-Knighton Med. Ctr., 49 F.4th 520, 525 (5th Cir. 2022) (courts will not

“accept as true conclusory allegations, unwarranted factual inferences, or legal conclusions”). Nor

can a complaint survive a motion to dismiss “by stating facts ‘merely consistent with’ liability.’”

BRFHH Shreveport, 49 F.4th at 525 (quoting Twombly, 550 U.S. at 557 (2007)); Ashcroft v. Iqbal,

556 U.S. 662, 679 (2009). “Where the well-pleaded facts of a complaint do not permit a court to

infer more than the mere possibility of misconduct, the complaint has alleged—but it has not

‘show[n]’—that the pleader is entitled to relief.” Walker, 938 F.3d at 734.

                                            ARGUMENT

I.      THE FTC IS NOT AUTHORIZED TO BRING THIS ACTION UNDER SECTION
        13(b) OF THE FTC ACT.

        Section 13(b) of the FTC Act authorizes the FTC to sue in federal court to enjoin a

defendant that “is violating, or is about to violate” a law enforced by the FTC. See 15 U.S.C.

§ 53(b)(1). As numerous courts have held, Congress expressly limited the FTC’s authority to sue

in federal court to circumstances where there is a need for immediate relief due to “existing or

impending conduct.” Fed. Trade Comm’n v. Shire ViroPharma, Inc., 917 F.3d 147, 156 (3d Cir.

2019) (“Simply put, Section 13(b) does not permit the FTC to bring a claim based on long-past

conduct without some evidence that the defendant ‘is’ committing or ‘is about to’ commit another

violation.”); see also Fed. Trade Comm’n v. Credit Bureau Ctr., LLC, 937 F.3d 764, 774 (7th Cir.



4
  Unless otherwise noted, alterations, citations and internal quotation marks are omitted and emphases are
added.


                                                   10
    Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 19 of 45




2019) (“Section 13(b) serves a . . . forward-facing role: enjoining ongoing and imminent future

violations.”); Fed. Trade Comm’n v. Facebook, Inc., 560 F. Supp. 3d 1, 26-27 (D.D.C. 2021)

(rejecting the FTC’s claim for injunctive relief under Section 13(b) where “no actionable violation

[was] either ongoing or about to occur”). Section 13(b) is not satisfied by allegations of past

violations, or by allegations suggesting a mere possibility of future recurrence. See Shire, 917

F.3d at 156–59; see also AMG Capital Mgmt., LLC v. Fed. Trade Comm’n, 141 S. Ct. 1341, 1348

(2021) (“Taken as a whole, the provision focuses upon relief that is prospective, not

retrospective.”).

        Indeed, the plain language of Section 13(b)—using the present tense—signifies that

Congress intended to provide a remedy for presently occurring or imminent future acts, but not for

completed, past acts. See Stankis v. Environmental Protection Agency, 713 F.2d 1181, 1185 (5th

Cir. 1983) (“We start with a strong presumption that Congress meant what it said.”); see also T D X

Energy, LLC v. Chesapeake Operating, Inc., 857 F.3d 253, 266 (5th Cir. 2017) (“The use of the

present and future tenses [‘drilling or intending to drill’] shows legislative intent that the provision

did not apply to completed wells.”). “[T]he words ‘is violating’ and ‘is about to violate’ (not ‘has

violated’) . . . reflect that the provision addresses a specific problem, namely, that of stopping

seemingly unfair practices from taking place while the Commission determines their lawfulness.”

AMG Capital Mgmt., 141 S. Ct. at 1348.

       In the limited instances where the Complaint offers non-conclusory allegations about the

conduct of any Welsh Carson entity, those allegations relate exclusively to long-past, plainly stale

conduct. The FTC devotes significant attention to “Welsh Carson’s” alleged role in founding

USAP more than a decade ago, when Fund XI made an investment in 2012. See, e.g., Compl. ¶ 34

(alleging “Welsh Carson” “created” USAP); id. at 26 & ¶¶ 77–80 (alleging “Welsh Carson”



                                                  11
    Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 20 of 45




“hatche[d] a strategy to consolidate anesthesia practices in Texas” in 2012); id. ¶¶ 81–95 (alleging

the circumstances of USAP’s founding in 2012); id. ¶ 336 (around USAP’s founding, “Welsh

Carson” “developed the overarching strategy to consolidate anesthesia markets”). However, the

Complaint also acknowledges that Fund XI divested its minority stake in 2017, and that, since its

investment in 2017, Fund XII has never held more than a minority interest in USAP. See id. ¶ 35.

Even crediting all reasonable inferences in its favor, the most that the FTC alleges is that “Welsh

Carson”—referring to all seven entities without distinction—generally participated in meetings,

presentations, and activities in furtherance of USAP’s diligence of potential acquisition targets

between 2012 and 2019. See, e.g., id. ¶¶ 79, 96, 200, 211, 337.

        In other words, at most, the FTC alleges that Fund XI completely divested its investment

more than six years ago; that Fund XII is and always has been a minority investor in USAP; and

that no Welsh Carson entity has engaged in conduct in furtherance of alleged antitrust violations

since 2019, more than four years ago. 5 The FTC’s allegations of long past-conduct by the Welsh

Carson entities are insufficient to satisfy the statutory standard. See Facebook, Inc., 560 F. Supp.

3d at 26 (FTC cannot pursue claim under Section 13(b) where alleged anticompetitive policy was

suspended three years earlier).

        Nor has the FTC alleged any facts regarding current or future conduct that suggest any

Welsh Carson entity is “about to” violate the antitrust laws. The Complaint’s resort to non-factual

speculation and hypothesis confirms this failure. The FTC alleges that nothing “prevent[s] Welsh

Carson from re-upping its investment in USAP, retaking formal control of the company, and

directing yet more anticompetitive acquisitions.” Compl. ¶ 337 (emphasis added). In other words,


5
   The only Welsh Carson-related allegations after 2019 relate to Fund XII’s alleged receipt of dividend
payments through 2020, which are irrelevant to the alleged antitrust violations and still occurred nearly
three years ago. See Compl. ¶ 337.


                                                   12
    Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 21 of 45




the FTC expressly concedes that the Welsh Carson entities have no control of USAP. Theoretical

speculation about a series of hypothetical future events, absent factual indicia showing they are

“about to” happen, fails the statutory test. See Shire, 917 F.3d at 156 (“[Section 13(b)] was not

designed to address hypothetical conduct or the mere suspicion that such conduct may yet occur.”);

Facebook, Inc., 560 F. Supp. 3d at 26–27 (rejecting the FTC’s allegation that the defendant could,

hypothetically, reinstate a challenged policy from 2018, calling it “conditional and conclusory,”

and “insufficient to establish the requisite imminence”). And, in any event, the assertion is

implausible on its face: many facts might “prevent” such a hypothetical massive reinvestment by

the Welsh Carson entities in USAP, including the fact that USAP is owned by hundreds of other

stockholders who would have to agree to sell their stakes, a speculative scenario not alleged to

have been discussed or planned, or even contemplated, at any time in the last six years.              See

BRFHH Shreveport, 49 F.4th at 525 (on motion to dismiss, courts need not “accept as true

conclusory allegations, unwarranted factual inferences, or legal conclusions”). 6

        The FTC also offers a vague and insufficient allegation that the Welsh Carson entities are

about to violate the antitrust laws because, more than six years in the past, “Welsh Carson” made

two unrelated investments in unrelated geographic locations and unrelated healthcare specialties.

See Compl. ¶ 339. Specifically, the FTC points to a 2015, past investment in “the emergency

medicine market” and an investment in or around 2017 in “the radiology market” to support its

claim that the Welsh Carson entities are “about to violate” the antitrust laws. Id. But this pleading

gambit has been repeatedly rejected by courts. The FTC alleges nothing more than “a violation in



6
  Moreover, the FTC does not allege that either of Fund XI or Fund XII has any remaining funds available
to make such an acquisition, let alone cash sufficient to acquire a majority of USAP. The FTC’s non-
factual, conclusory allegations about “Welsh Carson’s” general financial capacity and “frequent search for
new [healthcare] investments,” Compl. ¶ 338, support no inference that any Welsh Carson entity “is about
to violate” the antitrust laws.


                                                   13
   Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 22 of 45




the distant past and a vague and generalized likelihood of recurrent conduct.” Shire, 917 F.3d at

159, 161 (admonishing the FTC for its “improper use of Section 13(b)” where it “waited until five

years after [the defendant] had stopped its allegedly illegal conduct before seeking an injunction”).

       The statutory standard set forth in Section 13(b) is not satisfied by years-old conduct and

speculative musings about hypothetical future conduct. See Fed. Trade Comm’n v. AdvoCare

Int’l, L.P., No. 4:19-CV-715, 2020 WL 6741968, at *5–6 (E.D. Tex. Nov. 16, 2020) (granting

defendants’ motion to dismiss because “each of the FTC’s factual allegations pertain[ed] only to

past misconduct” by the defendants, and noting that Section 13(b) “unambiguously requires

plausible factual allegations” of current or future violation (emphasis in original)). The Fifth

Circuit’s opinion in Federal Trade Commission v. Southwest Sunsites, Inc. is consistent with this

approach. 665 F.2d 711, 723 (5th Cir. 1982) (finding Section 13(b) action authorized based on a

factual showing of “continuing” conduct and a “large-scale systematic scheme”).

       Finally, the FTC offers the non-factual and speculative conclusion that “there is a

reasonable likelihood that Welsh Carson will engage in similar and related conduct in the future.”

Compl. ¶ 338. But as the Third Circuit explained, this is plainly not the statutory standard under

Section 13(b), which requires a showing that a Welsh Carson entity “is violating, or is about to

violate” a law enforced by the FTC. See Shire, 917 F.3d at 158 (rejecting FTC’s reliance on the

“likelihood of recurrence” standard because “the FTC cannot overcome Congress’s plain language

in Section 13(b)”); id. at 160 (“Section 13(b) cannot accommodate the FTC’s interpretation—that

‘about to violate’ means only that a violation could recur at some future point.”). Even if, despite

the statutory text, the standard for an injunction under Section 13(b) were “reasonable likelihood

of recurrence” (which it is not), the FTC pleads no facts supporting any inference (let alone a

plausible one) that any Welsh Carson defendant is likely to engage in related or similar conduct



                                                 14
      Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 23 of 45




that would violate the antitrust laws. See AdvoCare Int’l, 2020 WL 6741968, at *6 (finding

pleading insufficient to support an inference of present or future violations where the channel of

misconduct was permanently defunct or reformed, lawful, and monitored for compliance); BRFHH

Shreveport, 49 F.4th at 525 (courts need not accept unwarranted factual inferences).

II.     THE FTC FAILS TO STATE A CLAIM FOR ALLEGED VIOLATION OF THE
        ANTITRUST LAWS BY WELSH CARSON.

        All ten of the FTC’s causes of action against the Welsh Carson entities should also be

dismissed under Rule 12(b)(6) because the Complaint contains no allegations that any of the seven

distinct Welsh Carson entities named as defendants engaged in any conduct in violation of the

antitrust laws. Instead, the FTC hides behind improper group pleading that fails to comply with

basic notice pleading requirements. Where, as here, the complaint names multiple entities as

defendants, a plaintiff must plead the elements of each claim as to each defendant; generalized

pleading directed at all defendants will not suffice. See Gurgunas v. Furniss, No. 3:15-CV-03964,

2016 WL 3745684, at *5 (N.D. Tex. July 13, 2016) (“group pleading” failed to meet Rule 8

standard because it was “impossible to ascertain which particular [d]efendant(s) [we]re supposedly

responsible” for each alleged act); Shujauddin v. Berger Bldg. Prods., Inc., No. CV 19-876, 2019

WL 9102043, at *1 n.2 (E.D. Pa. June 18, 2019) (“An allegation against multiple defendants that

is bereft of specific wrongdoing by those proposed defendants is insufficient to state a claim.

Generalized pleadings are not entitled to the assumption of truth.”).

        This hazy and undifferentiated pleading is exacerbated by the FTC’s efforts to evade

decades of bedrock corporate law, which makes clear distinctions between investors and the

operating company in which they invested. At their core, all of the FTC’s claims against the Welsh

Carson entities are based on alleged conduct by USAP, a separate and independent corporation

with a separate board of directors and separate officers, in which Fund XI was once an investor



                                                15
   Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 24 of 45




and in which Fund XII has owned a minority (i.e., non-controlling) stake since 2017. But the FTC

fails to allege facts necessary to show that any of USAP’s conduct, or the conduct of its directors,

can be properly attributed to any particular Welsh Carson entity, much less to all of the Welsh

Carson entities named as defendants. See, e.g., Lenox MacLaren Surgical Corp. v. Medtronic,

Inc., 847 F.3d 1221, 1237 (10th Cir. 2017) (plaintiff must “come forward with evidence that each

defendant independently participated in the enterprise’s scheme, to justify holding that defendant

liable as part of the enterprise”); Chandler v. Phoenix Servs., No. 7:19-CV-00014, 2020 WL

1848047, at *14 (N.D. Tex. Apr. 13, 2020) (“[A] plaintiff is [] required to come forward with

evidence that each defendant independently participated in the enterprise’s scheme, to justify

holding that defendant liable as part of the enterprise.”), aff’d, 45 F.4th 807 (5th Cir. 2022). By

improperly lumping together all eight defendants, the FTC tries to create the impression that

“USAP and Welsh Carson” are somehow a unified entity. But they are not: each defendant is

distinct. The FTC has not pled and cannot plead the independent conduct necessary to sustain any

claim against any Welsh Carson entity, and all ten of the FTC’s claims against the Welsh Carson

entities should be dismissed.

       A.      The Complaint States No Claims Against the Welsh Carson Entities for
               Monopolization, Unlawful Agreements in Restraint of Trade, or Unfair
               Methods of Competition.

               1.      The FTC Fails to Plead that Welsh Carson Is a Monopolist Engaged in
                       Exclusionary Conduct under Section 2 of the Sherman Act (Counts I & IV).

       A monopolization claim under Section 2 of the Sherman Act requires a showing “that the

asserted violator 1) possesses monopoly power in the relevant market and 2) acquired or

maintained that power willfully, as distinguished from the power having arisen and continued by

growth produced by the development of a superior product, business acumen, or historic accident.”

Stearns Airport Equip. Co. v. FMC Corp., 170 F.3d 518, 522 (5th Cir. 1999) (citing United States



                                                16
   Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 25 of 45




v. Grinnell Corp., 384 U.S. 563, 570–71 (1966)). “Exclusionary conduct under [S]ection 2 is the

creation or maintenance of monopoly by means other than the competition on the merits embodied

in the Grinnell standard.” Id.

       These claims fail because there is no factual allegation that any Welsh Carson entity was a

participant (let alone a monopolist) in any relevant market. To the contrary: the FTC alleges that

“Welsh Carson” is a New York-based private equity firm “engaged in the business of private

equity investment and management,” Compl. ¶¶ 2, 23, while alleging that “USAP has monopoly

power” in the markets for commercially insured hospital-only anesthesia services in Dallas and

Houston. See Compl. at 71, 75. Put simply, no Welsh Carson entity can be a monopolist in a

market in which it does not participate. And, by definition, no market can have more than one

monopolist; the FTC alleges USAP is the monopolist, not any Welsh Carson entity. See Grinnell,

384 U.S. at 571 (defining monopoly power).

       Nor has the FTC, in hundreds of paragraphs of allegations and after years of investigation,

pleaded any fact sufficient to establish that any Welsh Carson entity engaged in any actionable

exclusionary conduct. See BRFHH Shreveport, 49 F.4th at 529 (defining exclusionary conduct as

“the use of monopoly power to foreclose competition, to gain a competitive advantage, or to

destroy a competitor”). While the FTC recites the elements in the conclusory assertion that “USAP

and Welsh Carson have willfully acquired and maintained monopoly power,” Compl. ¶¶ 342, 366,

the alleged specifics of the purportedly exclusionary conduct concern only USAP. See id. ¶¶ 343–

44, 367–69 (alleging that “USAP acquired” certain practices and that “USAP entered into, or

maintained” certain agreements alleged to violate Section 1). The FTC pleads no exclusionary

conduct by any Welsh Carson entity, and certainly not by any of the four Welsh Carson entities

that did not even exist and/or have a role in USAP at the time of the alleged conduct between 2012



                                               17
   Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 26 of 45




and 2017.    See Compl. ¶¶ 26 (Fund XII), 27 (WCAS XII Associates, LLC); 30 (WCAS

Management L.P.); 31 (WCAS Management LLC); Rio Grande Royalty Co. v. Energy Transfer

Partners, L.P., 786 F. Supp. 2d 1202, 1212 (S.D. Tex. 2009) (dismissing Section 2 monopolization

claim for failure to allege “actionable exclusionary conduct”). The monopolization claims fail,

and Counts I and IV should be dismissed.

               2.     The FTC Does Not Allege that any Welsh Carson Entity Was Party to an
                      Agreement or Transaction in Violation of the Antitrust Laws (Counts II, V,
                      VII, IX, & X).

       The FTC likewise fails to allege that any Welsh Carson entity was a party to any allegedly

unlawful agreement, as required by each of Counts II, V, VII, IX and X.

       Section 7 Claims. In Counts II, V, and VII, the FTC alleges violations of Section 7 of the

Clayton Act, which prohibits a party from acquiring a target competitor where the effect “may be

substantially to lessen competition, or to tend to create a monopoly.” 15 U.S.C. § 18. The FTC

alleges that USAP (not the Welsh Carson entities) acquired certain physician practices in Houston

(Count II), Dallas (Count V), and Austin (Count VII). The Complaint never alleges that any Welsh

Carson entity acquired any of the anesthesia practices identified in the Complaint.

       Price Fixing Claim under Section 1 of the Sherman Act. In Count IX, the FTC alleges

that USAP and the Welsh Carson entities violated Section 1 of the Sherman Act by engaging in

“price-setting” where USAP provided administrative billing services for other anesthesiologists.

Compl. ¶¶ 176, 405–06. It is the FTC’s burden to plead facts which establish that USAP and the

Welsh Carson entities entered into an agreement or conspiracy “among actual competitors.”

Vaughn Med. Equip. Repair Serv., L.L.C. v. Jordan Reses Supply Co., No. CIV.A. 10-00124, 2010

WL 3488244, at *16 (E.D. La. Aug. 26, 2010) (citing United States v. Socony-Vacuum Oil Co.,

310 U.S. 150, 216–19 (1940)). The FTC alleges that USAP (not the Welsh Carson entities) entered

into or maintained agreements with third parties, pursuant to which USAP (not the Welsh Carson


                                                18
    Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 27 of 45




entities) provided administrative billing services, and that those agreements purportedly resulted

in USAP (not Welsh Carson entities) billing for others’ services at USAP’s higher rates. Compl.

¶¶ 175–81. The Complaint never once alleges that any Welsh Carson entity was a competitor in

the relevant markets, or entered into any of those agreements.

        Market Allocation under Section 1 of the Sherman Act. In Count X, the FTC alleges that

USAP and the Welsh Carson entities violated Section 1 of the Sherman Act by engaging in

horizontal market allocation or division as a result of USAP’s alleged noncompete agreement with

a potential competitor. Compl. ¶¶ 214, 410–11. 7 But the FTC must plead facts establishing an

agreement among competitors “at the same level of the market structure to allocate territories in

order to minimize competition.” Hobart Bros. Co. v. Malcolm T. Gilliland, Inc., 471 F.2d 894,

899 (5th Cir. 1973). The FTC’s allegations focus on USAP’s (not the Welsh Carson entities’)

alleged agreement with a potential competitor, in which the potential competitor allegedly agreed

not to compete with USAP (not the Welsh Carson entities) in the Dallas-Fort Worth market in

connection with USAP’s (not the Welsh Carson entities’) acquisition of Pinnacle Anesthesia

Consultants. Compl. ¶¶ 214, 410. No Welsh Carson entity is alleged to have been a market

participant or to have entered into any agreement with the named potential competitor. See id. ¶¶

208–15; see also California ex rel. Harris v. Safeway, Inc., 651 F.3d 1118, 1132 (9th Cir. 2011)

(Section 1 outlaws “[a]greements of competitors, whether express or implicit, whether by

formal agreement or otherwise, in restraint of trade.”).




7
   To the extent the FTC refers to the “Welsh Carson”-affiliated executive in its discussion of market
allocation (Compl. ¶¶ 208–15), he was at all times relevant to this allegation a director of USAP (id. ¶ 37)
and is thus presumed to have been acting in his capacity as a USAP director, as detailed below. See infra
at 26–27.


                                                    19
   Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 28 of 45




               3.        The FTC Fails to State a Claim under Section 5 of the FTC Act Against the
                         Welsh Carson Defendants (Count VIII).

       In Count VIII, the FTC purports to bring a claim under Section 5 of the FTC Act, alleging

generally that “USAP’s and Welsh Carson’s course of conduct, whether considered as a whole or

each portion in isolation, is an unfair method of competition.” Compl. ¶ 402. The FTC pleads no

additional factual allegations in Count VIII; its Section 5 claim merely restates and combines the

FTC’s Sherman Act and Clayton Act claims and fails for the same reasons explained above.

       To the extent the FTC is attempting to allege a standalone theory under Section 5—i.e., a

claim that the WCAS entities have violated Section 5 of the FTC Act even if they have not violated

any of the antitrust laws—the FTC’s theory is far too vague to give fair notice to the defendants

regarding what conduct is permissible or to provide the court a basis to determine whether Count

VIII states a claim. See E.I. du Pont de Nemours & Co. v. Fed. Trade Comm’n, 729 F.2d 128, 139

(2d Cir. 1984) (Under Section 5, the Commission “owes a duty to define the conditions under

which conduct [would be an unfair method of competition] so that businesses will have an inkling

as to what they can lawfully do rather than be left in a state of complete unpredictability.”).

       Nevertheless, despite the FTC’s silence about its theory under Section 5, such a claim

requires, at a minimum, that the defendant be a market participant engaged in unfair methods of

competition. See 15 U.S.C. § 45(a)(1); see also Off. Airline Guides, Inc. v. Fed. Trade Comm’n,

630 F.2d 920, 926 (2d Cir. 1980) (reversing FTC order under Section 5, holding that entity not

engaged in business as an air carrier could not be held liable under Section 5 for conduct relating

to competition in the air carrier business). Here, the FTC does not allege that any Welsh Carson

entity was a market participant in the provision of anesthesia services in any geography. The

Section 5 claim fails.




                                                 20
    Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 29 of 45




       B.      Welsh Carson Cannot Be Liable for Alleged Violations of the Antitrust Laws
               by USAP.

       Even though USAP is the only entity even arguably alleged to have engaged in

anticompetitive conduct, the FTC tries to impute liability to all seven of the Welsh Carson entities

(without distinction) for the alleged conduct of USAP. This approach has no basis in corporate or

antitrust law, and instead betrays the FTC’s true motivation here, which is to advance its new

policy goal of targeting the private equity industry by presuming certain acquisitions are

anticompetitive.

       Hoping to elide the clear corporate separateness between USAP and each of the Welsh

Carson entities, the FTC repeatedly incants the allegation that “Welsh Carson controlled, directed,

dictated, or encouraged USAP’s conduct with respect to, and directly and actively participated in,”

the challenged conduct. See, e.g., Compl. ¶¶ 40, 345, 370, 351, 376, 392, 400, 406, 411. But this

non-factual, legal conclusion is entitled to no weight on a motion to dismiss. See Iqbal, 556 U.S.

662, 678–79 (Rule 8 “does not unlock the doors of discovery for a plaintiff armed with nothing

more than conclusions”); Clark v. Thompson, 850 Fed App’x 203, 208 (5th Cir. 2018) (dismissal

appropriate where plaintiff offers “speculation and conclusory allegations”). 8 And the FTC fails

to plead sufficient facts showing that any of USAP’s conduct (including the conduct of USAP’s

directors designated by one of the Funds) can be properly attributed to any particular Welsh Carson

entity, or that any Welsh Carson entity independently engaged in such conduct.

       Instead, the FTC engages in impermissible group pleading as to all of the named

defendants, rendering the Complaint unintelligible as to what any given entity is allegedly




8
  Indeed, the FTC’s own pleading admits that the Welsh Carson entities do not control USAP. Compl.
¶ 336 (hypothesizing about future conduct that might allow “Welsh Carson” to “retak[e] formal control of
the company).


                                                  21
    Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 30 of 45




supposed to have done. As an especially egregious example, the FTC repeatedly alleges that in

2012, “Welsh Carson” (defined by the FTC to refer to all seven Welsh Carson entities, Compl. at

1–2) “created USAP,” id. ¶ 3; devised USAP’s “consolidation strategy,” id.; hired some of USAP’s

original management team, id. ¶ 38; and committed capital, id. ¶ 80. Of course, these allegations

about conduct at the time of USAP’s creation in 2012 cannot be attributable to all seven Welsh

Carson entities, let alone the four Welsh Carson entities that (as the FTC’s pleading itself makes

clear) did not exist at that time. 9 The FTC bears the burden of pleading the elements of each of its

claims against all seven Welsh Carson entities, and it has failed to carry that burden here. Even

after a lengthy investigation, the FTC has failed to plead facts demonstrating the type of

“independent conduct” required for the claims against any Welsh Carson entity to proceed; all it

alleges is conduct wholly typical of investor and investee. Quite frankly, it has made no effort at

all to do so; all it alleges is conduct that is wholly typical of the investor and investee relationship.

Fundamental principles of corporate law, which the FTC seeks to ignore, dictate that these claims

be dismissed.

                1.      Courts Respect the Corporate Form.

        As the Supreme Court has held, “[i]t is a general principle of corporate law that a parent

corporation (so-called because of control through ownership of another corporation’s stock) is not

liable for the acts of its subsidiaries.” United States v. Bestfoods, 524 U.S. 51, 52 (1998); see also

Bridas S.A.P.I.C. v. Gov’t of Turkmenistan, 447 F.3d 411, 416 (5th Cir. 2006) (same); SSP

Partners v. Gladstrong Invs. (USA) Corp., 275 S.W.3d 444, 455 (Tex. 2008) (“We have never held

corporations liable for each other’s obligations merely because of centralized control, mutual



9
 See Compl. ¶¶ 26 (Fund XII founded in 2014; no role in USAP before 2017), 27 (WCAS XII Associates,
LLC founded in 2014; no role in USAP before 2017); 30 (WCAS Management L.P. founded in 2017); 31
(WCAS Management LLC founded in 2017).


                                                   22
     Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 31 of 45




purposes, and shared finances.”); Valdez v. Cap. Mgmt. Servs., LP, No. CIV.A. B:09-246, 2010

WL 4643272, at *6–7 (S.D. Tex. Nov. 16, 2010) (declining to disregard corporate form where

entities were alleged to have acted as agents and assigns for each other). 10 Courts respect the

corporate form because “limited liability remains the norm in American corporate law.” United

States v. Jon-T Chems., Inc., 768 F.2d 686, 691 (5th Cir. 1985).

       Consistent with this settled principle, an entity cannot be liable for violations of the antitrust

laws unless it participated in those violations through some “independent conduct.” See, e.g.,

Chandler, 2020 WL 1848047, at *14 (“[A] plaintiff is . . . required to come forward with evidence

that each defendant independently participated in the enterprise’s scheme, to justify holding that

defendant liable as part of the enterprise.”); In re Penn. Title Ins. Antitrust Litig., 648 F. Supp. 2d

663, 688 (E.D. Pa. 2009) (“[T]o state a claim against parent corporations, plaintiffs must set forth

facts establishing the parent corporations’ direct and independent participation in the alleged

conspiracy.”); In re LIBOR-Based Financial Instruments Antitrust Litig., No. 11 MDL 2262, 2019

WL 1331830, at *38 (S.D.N.Y. Mar. 25, 2019) (dismissing claims where complaint did not allow

an “inference that [defendants’] subsidiaries and affiliates independently participated in [the

alleged misconduct]” or “actually played a role in the scheme”).

       A credible and factual showing that the parent directed or controlled the subsidiary’s

anticompetitive conduct is required. See In re Penn. Title Ins. Antitrust Litig., 648 F. Supp. 2d at

689 (“[P]laintiffs here rely on general statements that barely rise above mere labels and conclusions

and thus hardly raise a right to relief above a speculative level.”). Conduct “typical of any parent


10
   This concept of corporate separateness is another reason why the FTC’s attempt to lump together the
various Welsh Carson defendants necessarily fails. Allegations that “[t]he Welsh Carson Defendants
operate as a common enterprise” because they “share a website,” “use the same office space,” or have
overlapping officers and directors cannot overcome this bedrock corporate law principle that the Welsh
Carson defendants are, in fact, separate entities, with separate stakeholders, business purposes, and
operations. Compl. ¶ 32.


                                                  23
     Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 32 of 45




and subsidiary” is insufficient. Id.; see also Masimo Corp. v. Wireless, No. 19-CV-01100, 2020

WL 7260660, at *16 (S.D. Cal. Dec. 10, 2020) (liability only attaches to a parent where its

authority over a subsidiary is “so extensive that the subsidiary becomes only a means through

which the parent acts, or nothing more than an incorporated department of the parent”).

                 2.      The Welsh Carson Entities’ Alleged Activities Incidental to their
                         Investments Do Not Constitute Independent Conduct.

        The FTC fails to allege facts showing that any Welsh Carson entity independently

participated in any unlawful conduct. Despite its repeatedly-incanted but conclusory allegations

of “Welsh Carson’s” direction and control of USAP’s conduct, the purported factual predicates

alleged by the FTC merely reflect nothing more than the “typical” relationship between an investor

and its portfolio or subsidiary company. The FTC cannot establish “independent conduct” based

on its allegations that Welsh Carson:

        •   held varying ownership interests in USAP over time and certain associated shareholder
            rights, including the right to nominate directors to USAP’s board of directors, Compl.
            ¶¶ 35–36; 11

        •   “assist[ed]” USAP by “identifying attractive acquisitions, helping secure funding, and
            assisting in negotiations with insurers,” id. ¶ 37;

        •   “hired most of USAP’s original management team” around the time of USAP’s
            founding in 2012, id. ¶ 38;

        •   “regularly provided USAP with strategic, operational, and financial support . . . [and,
            p]ursuant to a series of management agreements and otherwise, . . . provided USAP
            with services related to corporate finance, acquisition due diligence, and strategic
            planning (among other things),” id. ¶ 39; 12 and




11
   As explained above, the Funds had certain customary shareholder rights in USAP, including, prior to
2017, the right to fill a majority of directors to USAP’s Board with Welsh Carson-affiliated directors. The
FTC does not allege—because it cannot—that the Funds ever exercised that right.
12
   There is no allegation that USAP was under an obligation to use those services (which are typical of
those offered by capital sponsors to their portfolio companies), or to take direction from these professionals.


                                                      24
      Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 33 of 45




          •   “continued to play a critical oversight role,” citing only a 2013 USAP-drafted
              “Playbook” about USAP’s plan for future interactions with “Welsh Carson,” id.
              ¶ 101. 13

These allegations of basic stockholder rights and advisory assistance are typical of, and incidental

to, the Funds’ holdings in USAP and are plainly insufficient to show independent participation,

much less management of USAP’s day-to-day operations. See In re Pressure Sensitive Labelstock

Antitrust Litig., 566 F. Supp. 2d 363, 376 (M.D. Pa. 2008) (allegation that parent regarded wholly-

owned subsidiary as a “valuable asset” because an alleged anticompetitive agreement allowed it

to maintain supracompetitive prices did not support an inference that parent was party to such

agreement). The FTC never alleges that Fund XII has the legal authority to control USAP under

Delaware law, USAP’s organizational documents, or the operative agreements. And the FTC

concedes that the Funds have held a minority share for most of USAP’s existence, and they have

never appointed more than two of USAP’s directors, despite an alleged right to appoint more. This

counsels strongly against any finding of control by the Welsh Carson entities.

          The district court’s decision in In re Pennsylvania Title Insurance Antitrust Litigation is

instructive. There, the court respected the legal distinction between a parent and its wholly-owned

subsidiary and rejected plaintiffs’ argument that they had set forth independent participation. The

court did not find independent conduct where the parent entities allegedly gave “their assent and

approval to their respective [wholly-owned] subsidiaries’ conduct” and “had ownership and

control of their respective subsidiaries.” In re Penn. Title Ins. Antitrust Litig., 648 F. Supp. 2d at

688. Those allegations were insufficient to impute liability; that conduct was “typical of any parent

and subsidiary.” Id. The allegations failed to demonstrate independent conduct because they did

not plausibly allege facts showing conduct by the parent that violated the antitrust laws. So, too,


13
     Notably, the FTC does not allege that Welsh Carson ever enforced its “critical oversight” function.


                                                      25
     Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 34 of 45




here. Taken individually or collectively, the FTC’s allegations come nowhere close to establishing

independent participation in unlawful, anticompetitive conduct by any Welsh Carson entity.

                3.      None of the FTC’s Remaining Allegations Properly Plead Independent
                        Conduct by the Welsh Carson Entities.

        As detailed above, there are no allegations that any Welsh Carson entity was a monopolist

engaged in exclusionary conduct or a party to any USAP acquisitions and agreements alleged to

violate the antitrust laws. See supra Parts II.A.1 & II.A.2. 14 So all the FTC is left with is that

“Welsh Carson” created the idea for USAP and that a USAP director who was affiliated with

Welsh Carson acted on behalf of USAP. Neither can impute liability to any Welsh Carson entity.

        USAP Director Conduct. The bulk of the FTC’s allegations regarding “Welsh Carson’s”

conduct concern the alleged conduct of a USAP director, Mr. Regan, who is also affiliated with

Welsh Carson. These allegations cannot establish the independent conduct of any Welsh Carson

entity. As the Supreme Court has held, it is a “well established principle [of corporate law] that

directors and officers holding positions with a parent and its subsidiary can and do ‘change hats’

to represent the two corporations separately.” Bestfoods, 524 U.S. at 69 (quoting Lusk v. Foxmeyer

Health Corp., 129 F.3d 773, 779 (5th Cir. 1997)). Directors are presumed to act on behalf of the

company on whose board they sit when involved in company business:

        Since courts generally presume that the directors are wearing their subsidiary hats
        and not their parent hats when acting for the subsidiary, it cannot be enough to
        establish liability here that dual officers and directors made policy decisions and
        supervised activities at the facility.

Id., 524 U.S. at 69–70; see also Weinberger v. UOP, Inc., 457 A.2d 701, 710 (Del. 1983) (under

Delaware law, designated directors owe the company on whose board they sit “uncompromising”



14
   The FTC alleges that a representative of Welsh Carson signed certain documents or agreements, but does
not allege those documents or agreements had anything to do with any violation of the antitrust laws. See,
e.g., Compl. ¶¶ 84, 126, 211.


                                                   26
     Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 35 of 45




fiduciary duties, and “[t]here is no dilution of this obligation where one holds dual or multiple

directorships”). Dual directors must “depart so far from the norms of parental influence exercised

through dual officeholding as to serve the parent, even when ostensibly acting on behalf of the

subsidiary.” Bestfoods, 524 U.S. at 71.

        The FTC pleads no facts to rebut the presumption that the USAP director affiliated with

Welsh Carson was acting on behalf of USAP. The best the FTC can muster is the non-factual

allegation that “[a]t least one Welsh Carson director on USAP’s board . . . acted in his Welsh

Carson capacity” in connection with USAP business. Compl. ¶ 37. But this conclusory allegation

is insufficient to rebut the Supreme Court’s presumption, as it lacks any supporting factual detail

showing that any USAP director acted to benefit a Welsh Carson entity and not USAP. See

Bestfoods, 524 U.S. at 70 & n.13 (plaintiff bears the burden of “show[ing] that dual officers or

directors were in fact acting on behalf of the parent”). 15 Indeed, it does not come close to the “so

far from the norms” principle established by the Supreme Court. Id. at 70 n.13, 71.

        Because the Complaint alleges neither independent participation in the allegedly unlawful

conduct by any Welsh Carson entity, nor conduct by the director appointed by the Welsh Carson

Funds that is inconsistent with acting for USAP, the Welsh Carson entities cannot be liable for

USAP’s conduct.

        Pre-USAP Formation Conduct. Nor can Fund XI’s provision of start up capital and

outlining a proposed strategy leading up to USAP’s founding in 2012 be a basis for liability. Id.


15
   See also In re Alper Holdings USA, Inc., 398 B.R. 736, 752–54 (S.D.N.Y. 2008) (parent company not
liable for the conduct of its subsidiary where pleadings did not identify any specific actions undertaken by
the dual agent that were for the benefit of the parent but not for the benefit of the subsidiary); Trinity Indus.,
Inc. v. Greenlease Holding Co., No. CIV.A. 08-1498, 2014 WL 1766083, at *11 (W.D. Pa. May 2, 2014),
aff’d, 903 F.3d 333 (3d Cir. 2018) (where plaintiff did not point to evidence showing that the parent’s
officers or directors acted on the subsidiary’s board “in any way that was ‘plainly contrary to the interests
of [the subsidiary] yet nonetheless advantageous to [the parent],” plaintiff failed to rebut the presumption
that the dual officers and directors acted in their capacity as the subsidiary’s board members).


                                                       27
    Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 36 of 45




¶¶ 77–94. From this pre-founding conduct, the FTC alleges that USAP (not the Welsh Carson

entities) made a series of acquisition and management decisions purportedly consistent with that

strategy over the course of the next decade. All the allegations of purportedly unlawful conduct

focus on USAP, not on any Welsh Carson entity. See, e.g., id. ¶ 100 (“Welsh Carson and USAP

had set in motion their consolidation strategy . . . USAP soon began executing on it.”); id. ¶ 334

(“USAP has engaged in a whole set of anticompetitive tactics to execute the consolidation scheme

Welsh Carson set out.”); id. at 37 (“USAP expands its roll-up scheme . . .”); id. ¶ 174 (“USAP

extended and defended its growing power through . . . (1) price-setting arrangements in which

USAP charged its own, higher prices for services rendered by anesthesia providers who chose to

remain independent; and (2) a market allocation agreement to avoid a head-to-head rivalry . . .

with another large anesthesia provider. . . .”).

       In other words, the FTC impermissibly attempts to hold the Welsh Carson entities liable

for allegedly supplying an idea to USAP which, in turn, was led by its own management

empowered to make its own decisions over the course of the next decade. See, e.g., Verizon

Commc’ns, Inc. v. Law Off. of Curtis V. Trinko, 540 U.S. 398, 407 (2004) (“The opportunity to

charge monopoly prices—at least for a short period—is what attracts ‘business acumen’ in the first

place; it induces risk taking that produces innovation and economic growth.”).

               4.      The FTC Fails to Plead Any Claim Based on Agency Liability.

       To the extent there is any unpled suggestion that the Welsh Carson entities are liable on

the theory that USAP acted as any of the Welsh Carson entities’ agent, that theory of liability also

fails. Consistent with its other pleading failures, the FTC’s allegations that the Funds had rights

as stockholders and appointed two directors to the USAP board are insufficient to state an agency




                                                   28
       Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 37 of 45




claim against the Welsh Carson entities for the alleged conduct of USAP. 16 See Transamerica

Leasing, Inc. v. La Republica de Venezuela, 200 F.3d 843, 851 (D.C. Cir. 2000) (rejecting agency

theory based on allegations that Republic of Venezuela owned majority of corporate entity and

could appoint directors and officers of corporate entity, put its chosen manager in charge of entity

and let him run “day-to-day” operations, and provided funds to entity); Masimo Corp., 2020 WL

7260660, at *16–18 (dismissing vicarious liability infringement claims, as allegations that parent

and subsidiary shared officers and/or directors, parent was involved in subsidiary’s legal disputes,

and parent was involved in “minutia of a product line” were insufficient to demonstrate agency

relationship). The claims against the Welsh Carson entities should be dismissed because the FTC

fails to plead that USAP acted as any Welsh Carson entity’s agent.

           C.      The FTC Fails to State a Valid Conspiracy Claim Under Section 2 of the
                   Sherman Act (Counts III & VI).

           Finally, the FTC cannot plead a viable “conspiracy” claim in violation of Section 2 of the

Sherman Act as between USAP and any of the seven Welsh Carson entities. As the Supreme

Court has held, a conspiracy requires “concerted activity” between two “separate economic actors

pursuing separate economic interests.”               Copperweld Corp., 467 U.S. at 768.               Corporate

separateness does not drive the Copperweld analysis; rather, the concerted action inquiry is

informed by “competitive reality.” Am. Needle, Inc. v. Nat’l Football League, 560 U.S. 183, 196

(2010). “The crucial question is whether the entities alleged to have conspired maintain an

economic unity, and whether the entities were either actual or potential competitors.” PostX Corp.

v. Secure Data in Motion, Inc., No. C 02-04483, 2005 WL 8177634, at *3 (N.D. Cal. Aug. 17,

2005).




16
     The FTC likewise fails to plead any other basis for vicarious liability for any of the Welsh Carson entities.


                                                        29
       Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 38 of 45




         The Complaint does not, and cannot, allege that USAP and Welsh Carson were separate

economic actors capable of conspiring as competitors (or even market participants) in any relevant

market in violation of the antitrust laws. The FTC does not allege that Welsh Carson had interests

that diverged from USAP’s, or that Welsh Carson and USAP are or were actual or potential

competitors. In fact, the opposite is true: at all times, at least one of the Welsh Carson entities

was an investor in, or otherwise aligned with, USAP, and no Welsh Carson entity ever provided

anesthesia services. As such, they were never “separate economic actors” capable of concerted

action and were not actual or potential competitors. See, e.g., PostX Corp., 2005 WL 8177634, at

*4 (holding that a 20% investor could not have conspired with the company because they had

shared economic interests and were not actual or potential competitors); Top Rank, Inc. v. Haymon,

No. CV154961, 2015 WL 9948936, at *3, *16 (C.D. Cal. Oct. 16, 2015) (dismissing claims against

asset management and investment advisory firms that held equity interests in and “commit[ted]

funding, business expertise, and operational supervision” to a portfolio company because they

were incapable of conspiring under Copperweld: they “share[d] a complete unity of economic

interest in the venture’s success, and [had] no alleged separate interest, at least as it relate[d] to the

relevant . . . markets,” and the investor firms were not actual or potential competitors of the

portfolio company); Rohlfing v. Manor Care, Inc., 172 F.R.D. 330, 344 (N.D. Ill. 1997) (“Even in

cases where the parent’s ownership interest is not strong, unity of interest may be established if

the economic objectives of the corporations are interdependent.”).

III.     THE CASE SHOULD ALSO BE DISMISSED BECAUSE, AS AN INDEPENDENT
         AGENCY, THE FTC CANNOT FILE AN ENFORCEMENT ACTION—AN
         AUTHORITY RESERVED TO AGENCIES DIRECTLY SUPERVISED BY THE
         PRESIDENT.

         As outlined above, all of the FTC’s claims against the Welsh Carson entities fail both as a

matter of statute and pleading, and they should be dismissed. Dismissal on those grounds would



                                                   30
     Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 39 of 45




fully resolve this motion. However, if the Court does not dismiss the FTC’s claims on the merits,

the Court would need to address the constitutional problems posed by the FTC’s lawsuit, which is

an impermissible exercise of executive branch authority—an important constitutional issue that

the Court could otherwise avoid resolving. See, e.g., Bond v. United States, 572 U.S. 844, 855

(2014) (“[I]t is a well-established principle governing the prudent exercise of this Court’s

jurisdiction that normally the Court will not decide a constitutional question if there is some other

ground upon which to dispose of the case.”). 17 In the event the Court does not dismiss on statutory

or procedural grounds, it should dismiss the FTC’s action as a violation of Article II of the U.S.

Constitution. The choice whether to initiate an enforcement action in court is the paradigmatic

exercise of executive branch authority; but the FTC is an independent agency whose existence and

structure the Supreme Court upheld only because it did not exercise executive branch functions.

The FTC’s power to bring enforcement lawsuits for injunctions under Section 13(b) in federal

court must therefore be stricken and, as a result, this case must be dismissed. 18

        A.      The FTC Act Amendments, Which Authorized Independent FTC
                Commissioners to Exercise the President’s Executive Power, Such as By Filing
                this Enforcement Action in Court, Violate Article II of the Constitution.

        This case presents the very same problem that the Supreme Court has already recognized

as a constitutional violation: an independent agency (here, the FTC) is exercising fundamentally

executive power (filing an enforcement action) that is reserved exclusively to the President under




17
  See also Cnty. Ct. of Ulster Cnty., N.Y. v. Allen, 442 U.S. 140, 154 (1979) (although courts “have a duty
to decide constitutional questions when necessary to dispose of the litigation before them,” they “have an
equally strong duty to avoid constitutional issues that need not be resolved in order to determine the rights
of the parties to the case under consideration”).
18
   USAP argues that the FTC’s power to file suit in federal court for a preliminary or permanent injunction
(as here) is conditioned upon the FTC promptly pursuing or having pursued to completion an administrative
proceeding against the defendants (which it has not done here). The Welsh Carson entities agree with
USAP’s position and incorporate USAP’s argument herein.


                                                     31
    Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 40 of 45




the U.S. Constitution, while enjoying protection from Presidential oversight. See Seila Law, 140

S. Ct. at 2191 (holding that structure of Consumer Financial Protection Bureau (“CFPB”) violated

separation of powers). Under Article II of the Constitution, “the ‘executive Power’—all of it—is

‘vested in a President.’” Id. This power necessarily includes “appointing, overseeing, and

controlling” principal executive officers, id. at 2197, such as those who “set enforcement

priorities” and “initiate prosecutions,” id. at 2203–04.

       Since its creation in 1914, the FTC has been, by conscious design, “independent” of the

President’s control. Congress limited both the President’s power to appoint FTC commissioners

of his choice (mandating that “[n]ot more than three of the Commissioners shall be members of

the same political party”), and the President’s power to remove them (providing that a

“Commissioner may be removed by the President” only “for inefficiency, neglect of duty, or

malfeasance in office”). 15 U.S.C. § 41. In 1935, the Supreme Court upheld the constitutionality

of the FTC, notwithstanding its structure as an independent agency, based on the limited, quasi-

judicial and quasi-legislative nature of the authorities the Commissioners could exercise. See

Humphrey’s Executor, 295 U.S. at 628. The Court’s opinion was built on the crucial understanding

that the FTC, at the time, “exercis[ed] ‘no part of the executive power.’” Seila Law, 140 S. Ct. at

2198 (quoting Humphrey’s Executor, 295 U.S. at 628). The Court found that the FTC instead

functioned “as a legislative or as a judicial aid.” Humphrey’s Executor, 295 U.S. at 628.

       Decades later, however, Congress amended the FTC Act to vest in FTC Commissioners

the indisputably executive power of seeking injunctive relief in federal district court (so long as it

is tethered to a parallel administrative proceeding). See 15 U.S.C. § 53(b) (amended in Pub. L.

No. 93-153, § 408(f), 87 Stat. 576, 592 (1973)). As a result of these amendments, the FTC now

wields substantial executive power: it operates, in large part, as an enforcement agency, and its



                                                 32
     Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 41 of 45




function is quintessentially executive in nature. See AMG Capital Mgmt., 141 S. Ct. at 1346

(detailing Congress’s conferral of enforcement authority on the FTC beginning in the 1970s).19

Lest there be any doubt that the FTC is an enforcer, the FTC Chair has repeatedly referred to the

FTC as an “enforcement” agency. 20

        Congress’s grant to the FTC—an independent agency—of such core enforcement powers

breached the limits of Article II. The powers that were added to the FTC’s authority in 1973 are

at the heart of the duty “vested” exclusively in the President to “take Care that the Laws be

faithfully executed.” U.S. Const. Art. II, §§ 1, 3. “[T]he choice of how to prioritize and how

aggressively to pursue legal actions against defendants who violate the law falls within the

discretion of the Executive Branch.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2207 (2021);

see also Buckley v. Valeo, 424 U.S. 1, 138 (1976) (“A lawsuit is the ultimate remedy for a breach

of the law, and it is to the President . . . that the Constitution entrusts th[is] responsibility.”). The

FTC Commissioners enjoy the same powers to “set enforcement priorities [and] initiate

prosecutions” that the Supreme Court recently concluded, when reviewing the structure of the

CFPB, were “significant executive power[s].” Seila Law, 140 S. Ct. at 2201, 2203–04.

        In sum, much of the authority the FTC claims today no longer resembles that of the

independent agency that the Supreme Court endorsed in 1935. The FTC’s exercise of executive




19
   The FTC is equipped with the authority to investigate suspected violations of the laws that it is tasked
with enforcing, the power to order compulsory process, and the ability to initiate administrative proceedings
or to seek injunctive relief in federal court. See 15 U.S.C. § 41 et seq.
20
    See generally Transcript, A Conversation with FTC Chair Lina Khan and DOJ Assistant Attorney
General Jonathan Kanter on Antitrust Enforcement, Brookings Inst. 2, 22 (Oct. 5, 2023) (Chair Khan: FTC
has     “a   whole     set     of    law     enforcement    tools”),     https://www.brookings.edu/wp-
content/uploads/2023/08/gs_20231005_antitrust_transcript.pdf; Q&A with FTC Chair Lina Khan, Chicago
Booth Stigler Ctr. (June 3, 2022) (antitrust statutes “allow the FTC to police unfair methods of
competition”), https://www.promarket.org/2022/06/03/qa-with-ftc-chair-lina-khan-the-word-efficiency-
doesnt-appear-anywhere-in-the-antitrust-statutes/.


                                                     33
   Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 42 of 45




power under Section 13(b) cannot be reconciled with the independence that the Commission

enjoys, both in the form of restrictions on the President’s appointment authority and the

Commissioners’ insulation from Presidential removal. Section 13(b) thus violates the U.S.

Constitution.

       B.       The Appropriate Remedy for this Constitutional Violation Is to Strike the
                Executive Powers Granted to the FTC in 1973, which Compels Dismissal of
                this Action.

       The inquiry does not end at identifying the constitutional violation; the Court must

determine the remedy for the violation. In Seila Law, the Supreme Court concluded that it could

sever the CFPB Director’s removal protection (i) “because the surviving provisions were capable

of functioning independently,” (ii) because other agencies had been closed and their authorities

transferred to CFPB, and (iii) because “nothing in the text or history of the [statute] demonstrates

Congress would have preferred no CFPB to a CFPB supervised by the President.” 140 S. Ct. at

2208–10 (emphasis in original). But the same logic does not apply here, and the FTC’s executive

power should be revoked.

       The FTC existed for half a century before Congress granted it the expansive executive

powers outlined in the 1973 amendments that give rise to the constitutional violation in this case.

Indeed, the Supreme Court upheld the structure of the FTC as originally constituted and endorsed

Congress’s conception of an independent FTC with restrictions on the President’s authority over

FTC Commissioners’ appointment and removal. See Humphrey’s Executor, 295 U.S. at 628.

Striking the FTC’s executive powers would not, however, limit the government’s ability to enforce

the antitrust laws. The Antitrust Division of the Department of Justice (“DOJ”), a body directly

accountable to the President, is already tasked with “[g]eneral enforcement, by criminal and civil

proceedings, of the Federal antitrust laws.” See 28 C.F.R. § 0.40. Nor would it leave the FTC

without a mandate. The FTC is charged with administering more than seventy laws and related


                                                34
    Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 43 of 45




regulations. See Fed. Trade Comm’n – Enforcement, https://www.ftc.gov/enforcement (last

visited Nov. 11, 2023). The FTC can thus still function as legislative and judicial aid. See

Humphrey’s Executor, 295 U.S. at 628. Severing the FTC’s later-added executive authorities

would thus both preserve the independent character of the agency as Congress created it more than

a century ago (and has never seen fit to change), and preserve to DOJ the authority to execute the

laws subject to the President’s full supervision. Here, Section 13(b) in the 1973 amendment is

what must be severed so the original law can stand without the unconstitutional amendment.

       Severing Section 13(b) in the later-enacted amendments, which created the constitutional

problem, is also consistent with the Supreme Court’s precedent on severability. “The Court has

long applied severability principles . . . where Congress added an unconstitutional amendment to

a prior law. In those cases, the Court has . . . severed the [problem] introduced by amendment, so

that the original law stands without the amendatory [violation].” Barr v. Am. Ass’n of Pol.

Consultants, Inc., 140 S. Ct. 2335, 2353 (2020) (plurality opinion).

       Striking the FTC’s more recently added executive functions will return the body to what

Congress originally, constitutionally created—“a multimember body of experts, balanced along

partisan lines, that performed legislative and judicial functions.” Seila Law, 140 S. Ct. at 2199.

Striking the amendment would also compel dismissal of this action, which proceeds under

authority unconstitutionally granted to the FTC by the amendment. Without constitutional

authority for the FTC to bring this suit, dismissal is the appropriate result.

                                          CONCLUSION

       For the foregoing reasons, the Welsh Carson entities respectfully request that all claims

against them be dismissed with prejudice.




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  Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 44 of 45




Dated: November 20, 2023
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                                    36
   Case 4:23-cv-03560 Document 100 Filed on 11/20/23 in TXSD Page 45 of 45




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                             CERTIFICATE OF SERVICE

        I hereby certify that the foregoing Welsh Carson Entities’ Motion to Dismiss was
electronically filed and served on all counsel of record on November 20, 2023.


                                        /s/ R. Paul Yetter
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                                          37
